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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL

  Case No. 8:18-cv-01644-VAP-KES                                               Date: May 22, 2019

  Title: IN RE EAGAN AVENATTI, LLP


  PRESENT:

              THE HONORABLE KAREN E. SCOTT, U.S. MAGISTRATE JUDGE

                  Jazmin Dorado                                     Not Present
                 Courtroom Clerk                                    Court Reporter

          ATTORNEYS PRESENT FOR                           ATTORNEYS PRESENT FOR
                PLAINTIFF:                                     DEFENDANT:
               None Present                                     None Present



    PROCEEDINGS (IN CHAMBERS):                           Order re Motion to Compel (Dkt. 76)


           Judgment creditor Jason Frank Law, PLC (“JFL”) has moved to compel third-party law
  firm Bienert Katzman, PC (“BK”) to comply with a subpoena to produce documents. (Dkt. 76.)
  BK formerly represented judgment debtor Michael Avenatti in a criminal case currently pending
  in this district. See United States v. Avenatti, 8:19-cr-0061-JVS-1. Although BK served JFL
  with objections invoking the attorney-client privilege and Mr. Avenatti’s Fifth Amendment
  rights (Dkt. 76-2 at 3-4), BK declined to file a substantive opposition to the motion to compel,
  explaining that it “does not represent Mr. Avenatti in this action” and “is not in a position to
  advocate for those privileges on Mr. Avenatti’s behalf” (Dkt. 81 at 2). BK asks the Court to
  “permit Mr. Avenatti an opportunity to argue in support of his privileges.” (Id.) Mr. Avenatti is
  currently represented in this action by separate counsel.

         IT IS THEREFORE ORDERED THAT:

         1.      The hearing on the motion to compel noticed for May 28, 2019 at 10:00 AM is
  taken off calendar.

         2.      Mr. Avenatti may file an opposition to the motion to compel and/or a motion to
  quash on or before Friday, May 31, 2019. If the Court does not receive any filings from Mr.
  Avenatti by that date, it will consider the motion under submission.

                                                                        Initials of Deputy Clerk JD
